                                UN ITED STA TES D ISTR ICT CO URT
                            FOR TH E W ESTER N DISTRICT O F VIR GIN IA
                                         Lynchburg Division

        BELW DA JONES,                                    )
                                                          )
               Plaintiff,                                 )
        v.                                                )      CivilActionNo: 6:16CV00052
        U NITED STATES OF A M ERICA,
        Serve: D esignated CivilProcessC lerk
               O fflce ofthe United StatesA ttorney
               310FirstStrectS.W .,Suite906               )
               Roanoke,VA 24011

        and

        JACLYN ROYAL,                                     )
        Serve: 1081 Red Fox Lane
               M oneta,VA 24121
               m edford County)
        and                                               )
        Serve:LorettaLynch,AttorneyGeneral                )
                oftheUnited States                        )
              USDepartmentofJustice                       )
              Rm 4400,950PennsylvaniaAve.,N.W .           )
              W ashington,DC 20530-0001                   )
                                                          )
               Defendants.                                )
                                               CO M PLAINT

               N OW COM ES the plaintiff, BELIND A JON ES, by counsel, and m oves for

        judn entagainstthedefendants,UnitedStatesofAmerica,and Jaclyn Royal,jointly and
        severally,on the grounds and in theam ountsetforth below :

                                                 Jurisdiction

               Thisaction arisesundertheFederalTortClaimsAct,28 U.S.C.j 1346(19. At1
        adm inistrative claim w aspresented to,and received by,the United StatesPostalService,an




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        agency of the United States of Am erica, Tort Claim s Coordinator, P.O . Box 59331,

        Charleston,W estVirginia 25350on oraboutSeptem ber25,2015. TheUnited StatesPostal

        Service ackpow ledged receipt of the adm inistrative claim by letter to plaintiff's counsel

        dated October20,2015. The PostalService f'urther acknowledged,by letterdated January

        21,2016,itwasreviewingandevaluatingtheclaim.Pursuantto28U.S.C.92675,theclaim
        hasbeen leh w ithoutfurtherwritten action form ore than six m onths.



                                                       Facts

               1. On or about the 11th day of O ctober,2014,the plaintiff,Belinda Jones,was

        operating a m otor vehicle in an easterly direction on Sm ith M ountain Lake Parkw ay,near

        itsintersection w ith Route731,in theCounty ofB edford,in theCom m onw ea1th ofVirginia,

               2. A tthattim e and place,defendant,Jaclyn Royal,w as an em ployee ofthe United

        StatesPostalService,an agency ofthe governm entoftheU nited StatesofAm erica,and was

        operating a m otor vehicle owned by Jaclyn Royalorthe United States ofA m edca or the

        United States Postal Service and w as engaged in her em ploym entwith the United States

        PostalService delivering United StatesM ail.

               3. Atthattim e and place,itw asthe duty ofthe defendant,Jaclyn Royal,to operate

        hervehicle with reasonable care and with dueregard forothersusing theroad.

               4. A tthattim e and place,ata11pertinenttim esherein,defendant,Jaclyn Royal,was

        em ployed by,and acting w ithin the scope ofheroffce or em ploym entw ith defendant,the

        United StatesofAm edca,and itsagency theU nited StatesPostalService.



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               5. N otw ithstanding said duties,the defendant,Jaclyn Royal,carelessly,recklessly,

        and negligently operated the vehicle owned by her,the United States of A m erica or the

        United States Postal Service so thatit collided with the vehicle operated by the plaintiff,

        Belinda Jones,w ith greatforce and violence.

                     The defendants,Jaclyn Royaland theU nited StatesofAm erica,werenegligent,

        including:

               (a)     JaclynRoyalfailedtokeepaproperlookout;
               (b)     Jaclyn Royalfailed to maintain proper controlof the vehicle she was
                       operating,owned by Jaclyn Royal,or the United States of Am erica,or the
                       U nited StatesPostalService;

               (c)     Jaclyn Royalfailedtoyieldtherightofwaytooncomingtraffic,including
                       theplaintiff,Belinda Jones;

               (d)     JadynRoyaldrovehervehiclefrom offtheshoulderoftllehighwayontothe
                       highw ay,into the path oftravelof the plaintiff,Belinda Jones,striking the
                       vehicle operated by B elinda Jones,forcing the vehicle she was operating off
                       theroad,causing hervehicleto strike a concrete drain pipe and overttm z;and

               (e)     Jaclyn Royaloperaiedhervehiclein arecklessandunsafemanner,striking
                       the vehicle operated by the plaintiff, Belinda Jones,w ith great force and
                       violence,causing m ultiple im pacts and collisions with the vehicle operated
                       by the plaintiff,Belinda Jones.

                       D efendantU nited States of Am erica,tllrough its agency the United States

        PostalService,is liable underthe FederalTortClaim sA ctand isvicadously liable forthe

        negligence mld resulting dam ages caused by their agentand em ployee,defendantJaclyn

        Royal.

               8,      Asa directand proxim ateresultthereotlplaintiff,Belinda Jones,sustained
        dnmages,includingbutnotlimitedto,seriousandpermanentinjuries;hassufferedandwill
        continue to suffer great pain of body and m ind; has sustained perm anent disability'
                                                                                            ,has
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        incurred and willincur in the future,hospital,doctors'and related bills in an effortto be

        curedofsaidinjudes.
               W HEREFORE,plaintiff,BelindaJones,demandsjudm entagainstthedefendants,
        JaclynRoyalandtheUnited StatesofAmerica,jointly and severally,inthesum ofTW O
        HUNDRED FIFI'Y THOUSAND DOLLARS ($250,000.00) plus interest and costs
        assessed asofthe day ofthe collision referenced herein.



                                                   BELINDA JONES


        s/lkichard F.Pùpp.Esquire
        VirginiaStateBarNumber: 30007
        Attom ey forPlaintiff
        SKOLROOD LAW FI1lM PC
        2965 Cololm adeDrive,S.W ,Ste.225
        Roanoke,VA 24018
        Telephone(540)989-0500
        Fax(540)989-1888
        (Email:J-
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                jlqtm@i/skoll'
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